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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 19-CR-20804-AHS(s)

  UNITED STATES OF AMERICA

  vs.

  HANAH CHAN and
  ASHLEIGH HOLLOWAY,

                 Defendants.
                                             /

        UNITED STATES OF AMERICA’S UNOPPOSED MOTION TO CONTINUE THE
                      DEFENDANTS’ SENTENCING HEARINGS

          The United States of America, through its undersigned Assistant United States Attorney,

  hereby files this motion to continue the defendants’ sentencing hearings, and states the following

  in support thereof:

          1.     The defendants previously pled guilty to conspiracy to structure transactions to

  avoid reporting requirements, in violation of Title 18, United States Code, Section 371; and

  structuring a transaction to avoid reporting requirements, in violation of Title 31, United States

  Code, Section 5324(a)(3) and (d)(2) and Title 18, United States Code, Section 2.

          2.     The defendants are currently set for sentencing on April 14, 2022.

          3.     The United States requests that the Court continue the defendants’ sentencing

  hearings to at least one week after co-defendant William Foster’s sentencing, which is currently

  set on August 18, 2022. The government expects that Foster’s sentencing will be contested and

  the government may need to call Chan and Holloway as witnesses. After Foster’s sentencing, the

  government will need at least one week to seek approval for its sentencing recommendation for

  Chan and Holloway, based on their cooperation in this case.
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         4.     Defense counsel for Hanah Chan, Tara Kawass, and defense counsel for Ashleigh

  Holloway, Paul Petruzzi, have no objection to the requested continuance.

         WHEREFORE, the United States of America respectfully requests that the Court grant the

  government’s request.


                                                     Respectfully submitted,
                                                     JUAN ANTONIO GONZALEZ
                                                     UNITED STATES ATTORNEY
                                              By:    /s/ Jessica Kahn Obenauf
                                                     JESSICA KAHN OBENAUF
                                                     Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF, on April 8, 2022.

                                              /s/ Jessica Kahn Obenauf
                                              JESSICA KAHN OBENAUF
                                              Assistant United States Attorney




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